Case 2:22-cv-09203-MEMF-KS Document 99 Filed 11/24/23 Page 1 of 1 Page ID #:575




 Clinton Brown, Self-Represented
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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

 CLINTON BROWN,                                CASE NO. 2:22-cv-09203-MEMF-KS
              Plaintiff,                       Request for Judicial Notice
       vs.                                     Question Presented by the Plaintiff
 CLARK R. TAYLOR, AICP, THE                    Rule 201(d)
 LOS ANGELES COUNTY                            Judge: Honorable Maame Ewusi-
 DEPARTMENT OF REGIONAL                        Mensah Frimpong
 PLANNING,                                     Magistrate: Karen L. Stevenson
              Defendant.                       Action Filed: 12/17/2022
                                               Action Due: 01/13/2023

                    REQUEST FOR JUDICIAL NOTICE
                 QUESTION PRESENTED BY THE PLAINTIFF

 NOTICE TO THE COURT, “Does a man not have a reasonable right to collect,
 utilize or profit from the rising or setting of the sun upon his land?” This is a material
 fact that is in dispute in this controversy and thus it must proceed to trial or it’s the
 Plaintiff’s time to receive Just Compensation for such violation, yet.

 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.”



 Clinton Brown                                                11/24/2023
